
66 So.3d 1029 (2011)
Willie GRAVES, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-3320.
District Court of Appeal of Florida, First District.
July 22, 2011.
Matt Shirk, Public Defender, Fourth Judicial Circuit, and Matt Lufrano, Assistant Public Defender, Jacksonville, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on or about May 17, 2011, in Duval County Circuit court case number 16-2010-CF-014407-AXXX-MA, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal. The court notes that the Office of *1030 the Public Defender has been appointed to represent petitioner on appeal.
VAN NORTWICK, WETHERELL, and ROWE, JJ., concur.
